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                                                 Form lA

                            Notice of Appeal to a Court of Appeals From a
                                     Judgment of a District Court

                       United States District Court for the Eighth Circuit for the
                                         District ofNebraska
                                    Docket Number 8:23CV00350


                       Brendan Welch
                       V.
                                                              Notice of Appeal
                       Morgan & Morgan
                       Justin Tomlinsson

                      _Brendan Welch_ _ _ _ (name all parties taking the
                      appeal)* appeal to the United States Court of Appeals for the
                        8th      Circuit from the final judgment entered on
                        9/8/2023___ (state the date the judgment was

RE fE!VED             entered).


   SEP 12 ~023                         (s)·~                     ~c:::=----~~-
                                           Attorney for _ _ _ _ _ _ _ _ __
      CLERK
U.S. DISTRICT COURT
                                          Address: - - - - - - - - - - -
     LINCOLN

                       [Note to inmate filers: Ifyou are an inmate confined in an
                      institution and you seek the timing benefit of Fed. R. App. P.
                       4(c)(J), complete Form 7 (Declaration ofInmate Filing) and
                      file that declaration with this Notice ofAppeal.]




                      • See Rule 3(c) for permissible ways of identifying appellants.


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           IN THE UNITED STATES COURT FOR THE DISTRICT OF NEBRASKA


                                    CIVIL APPEAL AND BRIEF

                                               8:23 CV350


This shall serve as the appellete brief, appeal and statement to the district court judge once ruled on in
the court of appeals. Plaintiff shall draft an additional statement if deemed necessary by the courts. The
following shall also serve as grounds for objection of dismissal. The claims as cited in the amendment
stand and are valid; or it is within my strong belief they are valid based on my interpretation of the law
and my understanding. The amended complaint should be allowed to proceed based on both the
aforementioned facts and the following additional factual basis. False Advertising is valid in this.


The persons associated and connected to Morgan&Morgan are in connection with services-namely pro
bona; "For The People" legal services and representation per advertisements on the radio and on their
website; and use in commerce such claims; connected with lawsuits and upon investigation is found to
be false or a gross misrepresentation; as the advertising provides false designation of origin or false and
misleading description of fact or misleading representation of fact which caused mistake and deception
of Welch Racing LLC; its owner; Brendan Welch and all officers of my business; and involves the
impact of commercial activities; as the false advertising has allowed further crimes and harm to occur;
in the form of defamation; social media harm; such as cyberbullying; an intentional form of abuse and
online harassment; and has allowed further harm and damage to occur to plaintiff and plaintiffs ·
company as a result of the neglect, failure to act and false advertising by the defendants.

Further, commercial advertising and promotion is also found to be relevant in this matter; and to be of
false or a misrepresentation of the claims so stated in the advertising of the defendants; primarily
Morgan and Morgan. Welch Racing LLC is a marketing, PR and transportation business within
primarily the racing industry; Welch Racing LLC is owned by Brendan Welch. Brendan Welch; owner
of Welch Racing LLC comes forward to further claim that my business has been impacted and
damaged due to the neglect and negligence; as well as the defendants false and misleading advertising
and gross misconduct and misrepresentation of such claimed legal services; bringing commercial
injuries and legitimate commercial interests involving Welch Racing LLC into this matter. The false
advertising and misrepresentation has resulted in the further direct diversion of sales or other
commercial interests; which has forced my company deeper into the damages and losses caused by
business interference and business interruption caused and inflicted by my abusers and harassers.
Welch Racing LLC and I both have no income stemming from operations in PR; transportation and
marketing. Though Welch Racing LLC is an entity; its owner; Brendan Welch is a human being with
rights and feelings. As a direct result of the defendants false and misleading statements in
advertisements; plaintiff continues to experience the harmful effects of cyberstalking; cyberbullying;
online harassment known as social media harm and has been inflicted with damages, injuries and
losses. Such injuries and damages include emotional distress; loss of income; loss of job opportunities;
mental anguish; mild depression; high anxiety; forced to deal with tortious business interference and
business interruption to which has caused operations to cease and the only crimes such as the breaking
and entering and criminal mischief on September 3rct, 2023 while I was in church. Though defendants
named in this case are not responsible for the crimes resulting in the above stated harm; they are
responsible and liable for the false advertising; failure to act; failure to care; neglect and negligence.
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All and Any Hann that resulted from such acts; including but not limited to the continued acts of
aggression; crimes; social media harm, human rights and civil rights violations; such as the ongoing
false light attacks and harassment by the defendants named in 4:23 CV 3128 and all other matters
involving associates or accomplices of the cult or hate group that is engaged in a vicious smear
campaign against me; has incited hatred and likely wants to kill or severely harm me. Pro Bono
representation is paramount in order to have peace and happiness in my life again; as these criminals,
cult members or narcissists are intent on destroying my life and my career. I have lost a lot of money
and friends over this and simply am not in a position to afford an attorney. I move the panel or court to
rule in my favor and let this matter proceed and move forward with service and possibly a settlement.
Defendants should be held liable for the crime of false advertising, the neglect and negligence. I further
move the panel or courts to hold jurisdiction over this matter with federal question only; as there is no
debate that diversity has been destroyed on the factual basis provided in the clear evidence of the
complaint packet. I further move the court to appoint an attorney in the area of the subject matter for
me given the fact I am overwhelmed and need the help; as even with my experience in criminal justice
and psychology; I am not immune to attacks; detrimental behavior and other damages stated above.
